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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

EDWARD BRAGGS, et al.,                )
                                      )
      Plaintiffs,                     )
                                      )          CIVIL ACTION NO.
      v.                              )           2:14cv601-MHT
                                      )
JEFFERSON S. DUNN, in his             )
official capacity as                  )
Commissioner of                       )
the Alabama Department of             )
Corrections, et al.,                  )
                                      )
      Defendants.                     )

                                 ORDER

      Based on the representations made in open court on

February 7, 2019, it is ORDERED that counsel for all

defendants are submit in writing by noon on February

14,   2019,    a    statement    as       to   whether   all   defendants

agree that all of the remedial stipulations previously

approved      and   adopted     by    the      court   meet    the   PLRA’s

‘need-narrowness-intrusiveness’ requirements.                        Counsel

for all plaintiffs said that they do.

      DONE, this the 11th day of February, 2019.

                                        /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE
